                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


____________________________________
CINCLIPS, LLC,                          )
   a Georgia Limited Liability Company  )
                                        )
Plaintiff,                              )
                                        )           Civil Action No. 8:16-cv-01067-JSS
v.                                      )
                                        )
Z KEEPERS, LLC,                         )
   a Florida Limited Liability Company, )
                                        )
Defendant.                              )
____________________________________)

                     CONCISE JOINT STATEMENT OF THE ACTION

        Plaintiff, Cinclips, LLC (“Plaintiff”) and Defendant, Z Keepers, LLC (“Defendant”) file

this Concise Joint Statement of the Action in accordance with the Amended Pretrial Order [Dkt.

101].

   I.      CONCISE JOINT STATEMENT OF THE ACTION

           This is a single-count action against Defendant for patent infringement of U.S. Patent

No. 9,133,609 (“the ’609 Patent”), which was granted on September 15, 2015. The inventor named

in the ’609 Patent is Dow Blaine, Plaintiff’s founder and owner. The ’609 Patent relates to a

mounting driver for undermounted sinks. Plaintiff is the owner of the ’609 Patent. Defendant

manufactures, offers to sell, and sells undermount sink supports called U-mounts™ undermount

sink supports. Defendant alleges it began manufacturing U-mounts™ in August 2014, and began

offering them for sale in January, 2015. Defendant denies that its U-mounts™ product infringes

the ’609 patent. Defendant further asserts affirmative defenses challenging the ’609 patent's

validity and enforceability.



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Date: September 17, 2018

 /s/ Woodrow H. Pollack                               /s/ Charles G. Geitner
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 17, 2018 a true and correct copy of the foregoing
was filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent via e-mail to all parties by operation of the Court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                        /s/ Woodrow H. Pollack
                                                        Woodrow H. Pollack




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